              Case 1:21-mc-00623       Document 1      Filed 05/27/21      Page 1 of 3




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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                     MEDFORD DIVISION

 UNITED STATES OF AMERICA,
                                                             1:21-mc-623
         Plaintiff,

         v.                                                 UNOPPOSED MOTION TO
                                                            EXTEND 90-DAY PERIOD
 $119,760.00 U.S. CURRENCY, in rem,                         PURSUANT TO
                                                            18 U.S.C. § 983(a)(3)(A)
         Defendant.

       Pursuant to Local Rule 7-1, counsel for the United States certifies that I have contacted

Ron Howen, attorney for claimant Ryan Metters, who concurs with this extension.

       On March 16, 2021, Ryan Metters filed a claim in a non-judicial civil forfeiture

proceeding by the U.S. Customs and Border Protection to $119,760.00 U.S. Currency seized

from Ryan Metters on or about December 15, 2020.

       No other person filed a claim in the administrative forfeiture proceeding.

       As provided in 18 U.S.C. § 983(a)(3)(A), the United States and Ryan Metters, agree to

extend the time in which the United States will file a complaint for forfeiture against the

Unopposed Motion to Extend 90-Day Period                                                      Page 1
            Case 1:21-mc-00623          Document 1       Filed 05/27/21      Page 2 of 3




$119,760.00 U.S. Currency or to obtain an indictment alleging that the assets are subject to

forfeiture. Ryan Metters agrees that the deadline by which the United States shall be required to

file a complaint for forfeiture against the property and/or to obtain an indictment alleging that the

property is subject to forfeiture shall be extended to Friday, August 13, 2021.

       Ryan Metters agrees that until the United States files a complaint for forfeiture against

the assets and/or obtains an indictment alleging that the assets are subject to forfeiture, or until

August 13, 2021, or until the parties reach a settlement regarding the property, whichever occurs

first, the property shall remain in the custody of the United States and Ryan Metters shall not

seek its return for any reason in any manner.

DATED: May 26, 2021                                    Respectfully submitted,

                                                       SCOTT ERIK ASPHAUG
                                                       Acting United States Attorney

                                                       s/ Christopher Cardani
                                                       CHRISTOPHER CARDANI
                                                       Assistant United States Attorney




Unopposed Motion to Extend 90-Day Period                                                       Page 2
           Case 1:21-mc-00623         Document 1     Filed 05/27/21    Page 3 of 3




                               CERTIFICATE OF SERVICE



       I hereby certify that I have made service of the foregoing Motion to Extend 90-Day Period

and a proposed Order on the party herein by sending via email on May 26, 2021 to:

Ron Howen
RonHowen@ddqfarms.com
 Attorney for claimant Ryan Metters



                                                   s/ Dawn Susuico
                                                   DAWN SUSUICO
                                                   Paralegal
